                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION



                                                Case No. 3:23-md-03071
                                                MDL No. 3071

                                                Chief Judge Waverly D. Crenshaw, Jr.

                                                DEFENDANT GREYSTAR
                                                MANAGEMENT SERVICES, LLC’S
                                                UNOPPOSED MOTION TO EXCUSE
                                                APPEARANCE AT SEPTEMBER 13,
                                                2024 STATUS CONFERENCE
 IN RE: REALPAGE, INC., RENTAL
 SOFTWARE ANTITRUST LITIGATION                  This Document Relates to:
 (NO. II)                                       3:22-cv-01082
                                                3:23-cv-00332
                                                3:23-cv-00357
                                                3:23-cv-00378
                                                3:23-cv-00410
                                                3:23-cv-00413
                                                3:23-cv-00552
                                                3:23-cv-00742
                                                3:23-cv-00979



   DEFENDANT GREYSTAR MANAGEMENT SERVICES, LLC’S UNOPPOSED
 MOTION TO EXCUSE THE APPEARANCE OF KAREN HOFFMAN LENT AT THE
              SEPTEMBER 13, 2024 STATUS CONFERENCE

       Defendant Greystar Management Services, LLC (“GMS”) respectfully moves for leave to

excuse its counsel, Karen Hoffman Lent, from appearing at the September 13, 2024 status

conference.

       On that date, Ms. Lent is scheduled to moderate a panel at the Fordham University

School of Law Competition Law Institute’s annual conference. Ms. Lent is Deputy Director of

the Competition Law Institute. Should the status conference go forward, Boris Bershteyn, Ms.




                                               1
Case 3:23-md-03071       Document 982        Filed 09/09/24    Page 1 of 3 PageID #: 16465
Lent’s partner at Skadden, Arps, Slate, Meagher & Flom LLP and counsel of record in this

matter, is available to appear in person in her stead. In addition, Mr. Bershteyn may be available

to participate in the status conference by telephone.

       GMS has conferred with Plaintiffs, who have indicated that they do not oppose this

motion.


 Dated: September 9, 2024                           /s/ Karen Hoffman Lent


                                                    Karen Hoffman Lent (admitted pro hac vice)
                                                    Boris Bershteyn (admitted pro hac vice)
                                                    Evan R. Kreiner (admitted pro hac vice)
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                                                 2
Case 3:23-md-03071         Document 982        Filed 09/09/24     Page 2 of 3 PageID #: 16466
                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing was filed electronically this

the 9th day of September, 2024. Notice of this filing was served via the Court’s Electronic Case

Filing system to all parties and counsel listed on the electronic filing receipt. Copies may also be

accessed through the Court’s Electronic Case Filing system.

                                                      /s/ Karen Hoffman Lent




                                                 3
Case 3:23-md-03071         Document 982        Filed 09/09/24      Page 3 of 3 PageID #: 16467
